        Case 21-70372                  Doc 6        Filed 05/13/21 Entered 05/14/21 00:52:38                             Desc Imaged
                                                    Certificate of Notice Page 1 of 5

Information to identify the case:

Debtor 1:
                      John B. Lemons                                                Social Security number or ITIN:   xxx−xx−4036
                                                                                    EIN: _ _−_ _ _ _ _ _ _
                      First Name   Middle Name   Last Name

Debtor 2:             Sandra Bland Lemons                                           Social Security number or ITIN:   xxx−xx−9179
(Spouse, if filing)                                                                 EIN: _ _−_ _ _ _ _ _ _
                      First Name   Middle Name   Last Name

United States Bankruptcy Court:        Western District of Virginia                 Date case filed for chapter:        7      5/11/21

Case number:21−70372
Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                                          10/20


For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.
The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                         About Debtor 2:

1.        Debtor's full name                     John B. Lemons                                          Sandra Bland Lemons

2.        All other names used in the
          last 8 years

3.      Address                                  25 Ventura Court                                        25 Ventura Court
                                                 Roanoke, VA 24019                                       Roanoke, VA 24019

4.      Debtor's attorney                        Tonya Janney                                            Contact phone 540−334−5113
                                                 Tonya L. Janney, Attorney at Law
        Name and address                         355 S. Main Street                                      Email: 3janneygirls@gmail.com
                                                 Rocky Mount, VA 24151

5.      Bankruptcy trustee                       Scot S. Farthing (424194)                               Contact phone (276) 625−0222
                                                 P. O. Box 1315
        Name and address                         490 West Monroe Street                                  Email: Trustee@sfarthinglaw.com
                                                 Wytheville, VA 24382
                                                                                                               For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 1
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                                                      Certificate of Notice Page 2 of 5
Debtor John B. Lemons and Sandra Bland Lemons                                                                                        Case number 21−70372


6. Bankruptcy clerk's office                         Roanoke Division                                                 Hours open:
                                                     210 Church Ave, Room 200                                         8:00 a.m. − 4:30 p.m.
    Documents in this case may be filed at           Roanoke, VA 24011
    this address. You may inspect all records                                                                         Contact phone 540−857−2391
    filed in this case at this office or online at
    https://pacer.uscourts.gov.
                                                                                                                      Date: 5/11/21

7. Meeting of creditors                              June 11, 2021 at 10:00 AM                                        Location:

    Debtors must attend the meeting to be                                                                             Attend by Telephone
    questioned under oath. In a joint case,          The meeting may be continued or adjourned to a                   Conference. See attached list for
    both spouses must attend. Creditors may          later date. If so, the date will be on the court                 Trustee's call−in number and
    attend, but are not required to do so.           docket.                                                          passcode.

8. Presumption of abuse                              The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                         Filing deadline: 8/10/21
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                     You must file a complaint:
                                                     • if you assert that the debtor is not entitled to receive a discharge of any debts under any of the
                                                       subdivisions of 11 U.S.C. § 727(a)(2) through (7), or

                                                     • if you want to have a debt excepted from discharge under 11 U.S.C § 523(a)(2), (4), or (6).

                                                     You must file a motion:
                                                     • if you assert that the discharge should be denied under § 727(a)(8) or (9).


                                                     Deadline to object to exemptions:                                Filing deadline: 30 days after the
                                                     The law permits debtors to keep certain property as exempt.      conclusion of the meeting of creditors
                                                     If you believe that the law does not authorize an exemption
                                                     claimed, you may file an objection.


10. Proof of claim                                   No property appears to be available to pay creditors. Therefore, please do not file a
                                                     proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless       will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.                   deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                                  The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                     not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                     exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                     https://pacer.uscourts.gov. If you believe that the law does not authorize an exemption
                                                     that the debtors claim, you may file an objection. The bankruptcy clerk's office must
                                                     receive the objection by the deadline to object to exemptions in line 9.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                     page 2
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       Bridge            Trustee          Toll Free Number    Participant
        Line                                                   Passcode
         1         UST Roanoke Office      (877) 451−9313      9499523#
         2               Beskin            (866) 581−9210      1752722#
         3              Callahan           (877) 934−5491      9319497#
         4              Farthing           (877) 953−6090      8983497#
         5              Goldstein          (877) 492−0156      7313672#
         6               Higgs             (877) 960−3871      4647388#
         7              Hutman             (866) 527−4091      8515643#
         8               Micale            (877) 952−9770      6550341#
         9                Scott            (877) 491−5685      9012607#
        10              Stevens            (877) 953−5197      7811951#
        11               Vogel             (877) 953−5927      9995849#
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                                                              United States Bankruptcy Court
                                                               Western District of Virginia
In re:                                                                                                                 Case No. 21-70372-pmb
John B. Lemons                                                                                                         Chapter 7
Sandra Bland Lemons
       Debtors
                                                     CERTIFICATE OF NOTICE
District/off: 0423-7                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: May 11, 2021                                               Form ID: 309A                                                             Total Noticed: 21
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

++               Addresses marked '++' were redirected to the recipient's preferred mailing address pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.P.2002(g)(4).


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on May 13, 2021:
Recip ID                Recipient Name and Address
db/jdb                + John B. Lemons, Sandra Bland Lemons, 25 Ventura Court, Roanoke, VA 24019-1536
5000900               + ARSI, 555 St. Charles Drive, Ste. 100, Thousand Oaks, CA 91360-3983
5000902                 BB&T Bankcard Services Division, PO Box 200, Wilson, NC 27894-0200
5000905               + FNB Omaha, PO Box 3412, Omaha, NE 68103-0412
5000903               + Finwise/Opps Loans, 820 E. 9400 South, Sandy, UT 84094-3653
5000906               + Freedom First Credit Union, PO Box 1999, Salem, VA 24153-1159
5000907                 Goldman, Sach & Bank USA, PO Box 450400, Salt Lake City, UT 84101-0400
5000911                 New Rez, PO Box 619063, Dallas, TX 75261-9063
5000904              ++ PERI GARITE, ATTN CARD WORKS, 101 CROSSWAYS PARK DR W, WOODBURY NY 11797-2020 address filed with court:, First
                        National Bank of Omaha, PO Box 3412, Omaha, NE 68103-0412

TOTAL: 9

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                  Notice Type: Email Address                                    Date/Time                 Recipient Name and Address
aty                       Email/Text: 3janneygirls@gmail.com
                                                                                        May 11 2021 21:36:00      Tonya Janney, Tonya L. Janney, Attorney at Law,
                                                                                                                  355 S. Main Street, Rocky Mount, VA 24151
tr                     + EDI: BSSFARTHING.COM
                                                                                        May 12 2021 00:53:00      Scot S. Farthing (424194), P. O. Box 1315, 490
                                                                                                                  West Monroe Street, Wytheville, VA 24382-2236
ust                    + Email/Text: ustpregion04.rn.ecf@usdoj.gov
                                                                                        May 11 2021 21:36:00      USTrustee, Office of the United States Trustee,
                                                                                                                  210 First Street, Suite 505, Roanoke, VA
                                                                                                                  24011-1620
5000901                   Email/Text: bankruptcy@bbandt.com
                                                                                        May 11 2021 21:36:00      BB&T, PO Box 2322, Lumberton, NC 28359
5000909                   EDI: CITICORP.COM
                                                                                        May 12 2021 00:53:00      Macy's Department Stores, 7 West 7th Street,
                                                                                                                  Cincinnati, OH 45202
5000913                  Email/Text: HOME.SFBANK-BCCBKNOTICE@fisglobal.com
                                                                        May 11 2021 21:36:00                      State Farm, PO Box 2313, Bloomington, IL 61702
5000908                + EDI: LENDNGCLUB
                                                                        May 12 2021 00:53:00                      Lending Club, 595 Market Street, Ste. 200, San
                                                                                                                  Francisco, CA 94105-2807
5000910                   Email/Text: recovery@memberonefcu.com
                                                                                        May 11 2021 21:36:00      Member One Federal Credit Union, PO Box
                                                                                                                  12288, Roanoke, VA 24024-2288
5000914                   EDI: RMSC.COM
                                                                                        May 12 2021 00:53:00      SYNCB (Lowe's), Attn.: Bankruptcy Department,
                                                                                                                  PO Box 965004, Orlando, FL 32896-5004
5000915                   EDI: RMSC.COM
                                                                                        May 12 2021 00:53:00      SYNCB (Sam's), Attn.: Bankruptcy Department,
                                                                                                                  PO Box 965004, Orlando, FL 32896-5004
5000916                   EDI: RMSC.COM
                                                                                        May 12 2021 00:53:00      SYNCB (TSX Rewards), Attn.: Bankruptcy
                                                                                                                  Department, PO Box 965004, Orlando, FL
                                                                                                                  32896-5004
5000912                + Email/Text: bankruptcy@schewel.com
                                                                                        May 11 2021 21:37:00      Schewel Furniture Company, 7007 Timberlake
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District/off: 0423-7                                              User: admin                                                             Page 2 of 2
Date Rcvd: May 11, 2021                                           Form ID: 309A                                                         Total Noticed: 21
                                                                                                            Road, Lynchburg, VA 24502-2332

TOTAL: 12


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                   NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: May 13, 2021                                        Signature:           /s/Joseph Speetjens
